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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

 Case No.        CV 22-9203-MEMF (KS)                                        Date: March 22, 2023
 Title        Clinton Brown v. Clark R. Taylor




 Present: The Honorable:       Karen L. Stevenson, Chief Magistrate Judge


                    Gay Roberson                                            N/A
                    Deputy Clerk                                   Court Reporter / Recorder

         Attorneys Present for Plaintiff: N/A             Attorneys Present for Defendant: N/A


 Proceedings: (IN CHAMBERS) ORDER SETTING BRIEFING SCHEDULE ON
              PLAINTIFF’S MOTION TO STRIKE (DKT. NO. 35)

        Clinton Brown (“Plaintiff”), proceeding pro se, commenced this civil rights action under
 42 U.S.C. § 1983 against Clark R. Taylor (“Defendant”) on December 17, 2022. (Dkt. No. 1.)
 Defendant filed an Answer with affirmative defenses on January 30, 2023. (Dkt. No. 10.)

         On March 19, 2023, Plaintiff filed a Motion to Strike, pursuant to Rule 12(f) of the Federal
 Rules of Civil Procedure, on the grounds that all of Defendant’s affirmative defenses must be
 stricken as, inter alia, insufficient as a matter of law. (See Dkt. No. 35 (“Motion”).) Plaintiff did
 not notice the Motion for a hearing. (Id.)

          IT IS ORDERED that the following briefing schedule governs the Motion: (1) Defendant
 shall file and serve his Opposition no later than April 10, 2023; and (2) Plaintiff shall file a Reply,
 if any, within seven (7) days from the date of service of the Opposition. The Motion will be
 deemed under submission on the date the Reply is due.

          IT IS SO ORDERED.

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                                                                     Initials of Preparer        gr




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